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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,


       v.
                                                        17-CR-162
 DARIUS DIX,                                            ORDER

              Defendant.



       Along with co-defendants Ramone Westbrook, Rico L. Freeman, Corey

Bradberry, and Kurtis Washington, Darius Dix is charged in a one-count indictment with

conspiracy to possess with intent to distribute and to distribute 5 kilograms or more of a

mixture and substance containing cocaine and 280 grams of more of a mixture and

substance containing cocaine base. Docket Item 1. On January 9, 2018, Dix filed

omnibus motions, including a motion to suppress “physical evidence and statements

obtained pursuant to the arrest of Mr. Dix on December 27, 2016 in the city of Lockport

New York.” Docket Item 32 at 3. On January 26, 2018, the government responded.

Docket Item 40. On January 26, 2018, Magistrate Judge H. Kenneth Schroeder, Jr.,

issued a Report, Recommendation, and Order (“R&R”), recommending the denial of the

motion to suppress. Judge Schroeder noted that Dix failed to submit an affidavit from

someone with personal knowledge to support the motion and that Dix had “failed to

describe in any way the facts and circumstances that would justify holding a hearing let

alone suppression of evidence.” Docket Item 41 at 1-2.

       The defendant did not object to Judge Schroeder’s R&R, and the time to object

now has expired. For that reason, the defendant has waived his right to have the R&R
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reviewed. See Fed. R. Crim. P. 59(b)(2) (“Failure to object in accordance with this rule

waives a party’s right to review.”); see also Docket Item 41 at 5.

         Nevertheless, in its discretion, this Court has carefully reviewed Judge

Schroeder’s R&R (Docket Item 41). Based on that review and the absence of any

objection, and for the reasons stated in the R&R, this Court adopts Judge Schroeder’s

R&R in its entirety. Dix’s motion to suppress is DENIED.




         SO ORDERED.

Dated:         February 22, 2018
               Buffalo, New York



                                                s/Lawrence J. Vilardo
                                               LAWRENCE J. VILARDO
                                               UNITED STATES DISTRICT JUDGE




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